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            1    9 PAGES
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            8

            9                              UNITED STATES BANKRUPTCY COURT
                                            EASTERN DISTRICT OF CALIFORNIA
           10                                    SACRAMENTO DIVISION
           11     In re                                             Case No. 2017-26125
                                                                    DCN: GEL-015
           12     FIRST CAPITAL RETAIL, LLC
                                                                    Date:     February 20, 2018
           13     FEIN: XX-XXXXXXX                                  Time:     10:00 A.M.
                                                                    Location: 501 I Street, 7th floor,
           14                                                                 Courtroom 28;
                                    Debtor,                                   Sacramento, CA
           15
                                                                    Judge:     Honorable Michael S. McManus
           16

           17

           18                 DECLARATION OF RAMESHWAR PRASAD IN SUPPORT OF
                              DEBTOR’S EMERGENCY MOTION FOR ENTRY OF ORDER
           19                      (I) APPROVING CERTAIN BIDDING PROCEDURES,
                              (II) AUTHORIZING OVERBID PROTECTIONS, INCLUDING
           20                   BREAKUP FEE AND EXPENSE REIMBURSEMENT, AND
                                           (III) GRANTING RELATED RELIEF
           21

           22    I, Rameshwar Prasad, hereby declare as follows:
           23    1. I am over the age of 18 and am mentally competent and I make this declaration in support of
           24        motion (the “Motion”) for the entry of an order, substantially in the form attached to the
           25        Motion as Exhibit A (the “Bidding Procedures Order”) (i) approving certain proposed
           26        Bidding Procedures (as defined below) in connection with the sale of substantially all of the
           27        Debtor’s assets (the “Sale”), (ii) authorizing overbid protections as discussed below, including
           28

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            1          Breakup Fee and Expense Reimbursement (as defined below), and (iii) granting related relief.

            2    2. I am the managing member and president of First Capital Retail, LLC (“Debtor”). In my

            3          capacity as Debtor’s president, I am familiar with Debtor’s daily business, operations, and

            4          financial affairs. Except as otherwise indicated, all of the facts set forth in this Declaration are

            5          based upon my personal knowledge of Debtor’s operations and finances, information learned

            6          from my review of relevant documents, and information supplied to me by other members of

            7          Debtor’s management and Debtor’s business and legal advisors. If called upon to testify as to

            8          the content of this Declaration, I could and would do so.

            9    3. On September 14, 2017, the Debtor filed its voluntary petition for relief under Chapter 11 of

           10          the Bankruptcy Code, thereby commencing the above-captioned case.

           11    4. The Debtor is operating its business and managing its properties as debtor in possession

           12          pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

           13    5. No request has been made for the appointment of a trustee or examiner, and no official

           14          committees have been appointed in this case.

           15    6. Debtor is a Nevada limited liability company formed in 2015 that owns and operates Focus

           16          Brand (the “Franchisor”) franchises, which include Cinnabon® and Auntie Anne’s® and

           17          Mrs. Fields® bakeries in California.

           18    7. On January 21, 2018, the Court granted Debtor’s Motion to Extend the Period to Assume or

           19          Reject the Leases on Nonresidential Real Property, by ninety (90) Days, to April 12, 2018. As

           20          of February 9, the date of the Letter Agreement (defined below), the Debtor was currently

           21          operating thirteen (13) Cinnabon franchise locations throughout California, of which three (3)

           22          leases were deemed terminated, but two are actively being litigated by the Debtor in state court

           23          venues. The lease locations are as follows:

           24    ///

           25    ///

           26    ///

           27    ///

           28    ///
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            1            a. Non-Terminated Real Property Leases still operating:
            2

            3    Store #     Store Name                       Address                       City             State   Zip Code

            4    15          Montclair Plaza                  5192 N. Monclair Plaza Lane   Montclair        CA      91763

            5    87          Galleria at Tyler                1341 Galeria Ct               Riverside        CA      92503

            6    94          Solano Town Center               1350 Travis Blvd              Fairfield        CA      94533

            7    124         Montebello Town Center           2134 Montebello Town Center   Montebello       CA      90640

            8    260         Santa Rosa                       1066 Santa Rosa Plaza         Santa Rosa       CA      95401

            9    904         Universal City Walk              1000 Universal City Plaza     Universal City   CA      91602

           10

           11            b. Terminated Real Property Leases still operating or holding property of the estate as of
                            the Letter Agreement:
           12

           13
                 36                  1.          Northridge    9301 Tampa Ave               Northridge       CA      91324
           14
                             Fashion Center
           15
                 80          Arden Fair                        1689 Arden Way               Sacramento       CA      95815
           16
                 168         Vintage Faire                     3401 Dale Road               Modesto          CA      95356
           17

           18            c. Non-Terminated Real Property Leases still operating that the Debtor intends on
                            rejecting:
           19
                 102         Moreno Valley                    22500 Town Circle             Moreno           CA      92553
           20                                                                               Valley
                 125         Northridge Mall                  796 Northridge Mall           Salinas          CA      93906
           21
                 171         Oakridge Mall                    925 Blossom Hill Road         San Jose         CA      95123
           22    348         Imperial Valley                  3451 S. Dogwood Ave           El Centro        CA      92243

           23
                 8. On or about February 9, 2018, the Debtor and Pilot Real Estate Group, LLC, (“Pilot” or the
           24
                       “Stalking Horse Bidder”) executed certain letter of intent term sheet (the “Letter
           25

           26          Agreement”) for the sale and purchase, subject to the Court’s approval, of the Debtor’s

           27          business-related assets for $1,200,000.00 (the “Purchase Price”). The assets subject to the

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            1          Sale shall be as set forth in the Letter Agreement, including, but not limited to: inventory,
            2          account receivables, executory contracts, cash, franchise agreements, all assets used in
            3
                       connection with operating the Debtor’s various franchise businesses, and assignment of
            4
                       related nonresidential real property leases including seven (7), as defined in paragraph 7 (a)
            5
                       and (b) above, of nonresidential real property leases used to operate the Debtor’s franchises,
            6

            7          plus additional consideration depending on which other locations, including (2) Century City

            8          locations and Oakridge Mall, that may become available due to re-negotiations, assumability

            9          and feasibility of cure costs Debtor. (collectively referred hereafter as the “Assets”).
           10
                  9. On February 1, 2018, the Debtor filed with this Court a motion to approve stipulation for
           11
                       modification of a certain reinstatement and settlement agreement between the Debtor and the
           12
                       Franchisor, pursuant to which the Debtor and the Franchisor agreed, among other things, that
           13
                       any sale transaction shall close on or before April 12, 2018.
           14

           15     10. Pursuant to the Letter Agreement, the following timeline is established which the Debtor

           16          believes is critical to preserving and maximizing the Debtor’s business assets as a going
           17          concern enterprise and to generate its optimum value.
           18
                             •   February 16, 2018: Deadline for filing this bidding procedures motion
           19
                             •   March 1, 2018: Deadline for Bid Procedures Order to be entered.
           20
                             •   March 7, 2018: Deadline for Debtor and the Stalking Horse Bidder to execute the
           21

           22                    asset purchase agreement (the “Asset Purchase Agreement”), and to file sale

           23                    motion on an expedited basis seeking approval of the Sale (the “Sale Motion”).
           24                •   March 20, 2018: Deadline for sale order to be entered
           25
                             •   April 9, 2018: Sale closing deadline.
           26

           27
                 ///
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            1                       BIDDING PROCEDURES AND OVERBID PROTECTIONS
            2    11. The Debtor’s proposed Bidding Procedures (as defined below) and overbid protections are
            3
                    intended to establish an expedited sale process that will maximize the value of the Debtor’s
            4
                    Assets for the benefit of the Debtor’s estate and its creditors, while at the same time
            5
                    reconciling the demands of that process with the stark realities of the time limitations created
            6

            7       by the Debtor’s challenged liquidity situation and the significance of its relationship with the

            8       Franchisor and landlords, requiring a closing date by April 12, 2019.

            9          A) Bidding Procedures
           10
                 12. The terms of the bidding procedures are attached to the Motion as Exhibit B (the “Bidding
           11
                    Procedures”). The Bidding Procedures describe, among other things, (i) the Assets available
           12
                    for sale, (ii) the manner in which bids become “qualified,” (iii) if qualified competing offers
           13
                    are received in a timely fashion, the conduct of an auction sale (the “Auction”) before the
           14

           15       Court to determine the highest and best offer, and (iv) the selection and approval of a

           16       Successful Bidder (as defined in the Bidding Procedures).
           17    13. The Debtor intends to solicit bids for the Sale in accordance with the Bidding Procedures.
           18
                    The Bidding Procedures reflect the Debtor’s objective of conducting an Auction on an
           19
                    expedited basis while at the same time maintaining a controlled, fair and open process, all the
           20
                    while aimed at achieving the highest and best bid is generated for the Assets.
           21

           22    14. The Debtor reserves the right to file separate assumption and assignment procedures for the

           23       potential assumption and assignment of certain executory contracts and unexpired leases,

           24       including with respect to cure costs and objection deadlines.
           25          B) Overbid Protections and Breakup Fee/ Expense Reimbursement
           26
                 15. The Letter Agreement provides, in relevant part, as follows:
           27

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            1          i.      Breakup Fee: The Debtor shall pay Pilot a fee in cash (the “Breakup Fee”) equal to
                       $125,000.00 plus 4.5% of any increase in the Purchase Price for any reinstated lease added
            2          to the Sale in the event that –
            3                           (a) Pilot terminates the Asset Purchase Agreement due to a material,
                              uncured (if capable of cure) breach by First Capital that would cause the failure of
            4                 any condition to closing or any misrepresentation by First Capital or its officers,
                              agents or professionals, including but not limited to the financial documentation
            5                 communication and/or information provided to Pilot or financial documentation
                              filed with the Court, there being no violation of any state or regulatory permit for
            6                 continued operations and Pilot’s ability to obtained all necessary operating
                              permits;
            7                           (b) the Asset Purchase Agreement has not already been terminated and
                              First Capital (i) terminates the Asset Purchase Agreement and consummates a
            8                 transaction for all or a material portion of the Assets pursuant to a higher or
                              otherwise better proposal that is accepted as the winning bid; (ii) files a motion or
            9                 motions to sell all or any material portion (in one or a series of transactions) of the
                              Assets to a party other than Pilot pursuant to an order of the Bankruptcy Court; or
           10                 (iii) files with the Bankruptcy Court a proposed Chapter 11 plan that proposes the
                              disposition of all or any material portion of the Assets to a party other than Pilot;
           11                 or
                                        (c) Pilot terminates the Asset Purchase Agreement due to a failure of the
           12                 closing to occur prior to April 9, 2018.
           13          ii.    Expense Reimbursement: The Debtor shall reimburse Pilot for its reasonable and
                       documented out-of-pocket costs and expenses (including legal, accounting, and other
           14          consultant fees and expenses, other than any success or similar fees payable to financial
                       advisors or consultants) incurred in connection with the transactions contemplated under
           15          the Letter Agreement in an amount not to exceed $75,000.00 (the “Expense
                       Reimbursement”) in the event the parties execute a definitive Asset Purchase Agreement
           16          and the sale to Pilot as contemplated under the Letter Agreement (or Asset Purchase
           17          Agreement, as applicable) is not consummated for any reason (other than Pilot’s material
                       breach of the Asset Purchase Agreement).
           18
                       iii.    Overbid Minimum: Any “qualifying bidder (as that term may be defined in the
           19          Bidding Procedures) that bids on the Assets shall propose consideration equal to or greater
                       than the Purchase Price plus (a) the Breakup Fee, plus (b) the Expense Reimbursement, plus
           20          (c) ten percent (10%) of the Purchase Price.
           21
                 16. The Bidding Procedures are designed to promote a competitive and fair bidding process and,
           22
                    thus, to maximize value for the Debtor’s estate and creditors. The Bidding Procedures will
           23
                    allow the Debtor to conduct the Auction in a controlled, fair and open fashion that will
           24
                    encourage participation by financially capable qualified bidders, thereby increasing the
           25

           26       likelihood that the Debtor will receive the highest and best possible consideration for the

           27       Assets. Also, the Bidding Procedures provide an appropriate framework for the Debtor to
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            1       review, analyze and compare any bids received in order to determine which bids are in the best
            2       interests of the Debtor’s estate and its creditors.
            3
                 17. The Debtor also seeks approval to pay the Breakup Fee and the Expense Reimbursement to
            4
                    the Stalking Horse Bidder upon the terms and conditions of the Letter Agreement, subject to
            5
                    execution of the Asset Purchase Agreement. Such bid protections are in recognition of the
            6

            7       Stalking Horse Bidder’s substantial expenditures of time, energy and resources, and the

            8       benefits to the Debtor’s estate of securing a “stalking horse” or guaranteed bid. Without the

            9       bid protections, the Stalking Horse Bidder will not finalize and execute the Asset Purchase
           10
                    Agreement.
           11
                 18. I believe that granting the bid protections to the Stalking Horse Bidder will ensure the Debtor’s
           12
                    ability to maximize the realizable value of the Assets for the benefit of the Debtor’s estate,
           13
                    creditors and other parties in interest. The bid protections work as an incentive that encourages
           14

           15       a potential buyer to invest the time, money, energy and resources required to negotiate with a

           16       debtor and perform the due diligence required in connection with the acquisition of a debtor’s
           17       assets, despite the inherent risks and uncertainties of the chapter 11 process.
           18
                 19. The bid protections here should be approved and afforded super-priority administrative
           19
                    expense status under the Bankruptcy Code because they provide a clear benefit to the
           20
                    Debtor’s estate. I believe the Breakup Fee and Expense Reimbursement are fair and
           21

           22       reasonable in view of (a) the size and nature of the transaction, (b) the analysis and

           23       negotiation undertaken by the Stalking Horse Bidder in connection with the transaction and

           24       (c) the fact that, if the Breakup Fee and the Expense Reimbursement are triggered, the
           25       Stalking Horse Bidder’s efforts will have influenced the chances that the Debtor receives
           26
                    the highest and best offer for the Assets, to the benefit of the Debtor’s estate and creditors.
           27
                    By conducting due diligence, participating in negotiations for a potential transaction and
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            1       entering into the Asset Purchase Agreement, the Stalking Horse Bidder has established a
            2       bid standard, including a price floor, and initiated a sales process that will serve as a catalyst
            3
                    for other bidders to submit higher and better bids.
            4
                 20. In addition, no parties will be prejudiced by the Court's approval of the bid protections in
            5
                    these circumstances. To the extent that the Asset Purchase Agreement entices other
            6

            7       potentially interested purchasers to participate in the bidding and Auction process, the

            8       Breakup Fee will provide a material benefit to the Debtor's estate in the form of an increased

            9       sale price. On the other hand, in the event that others are not encouraged by the Asset Purchase
           10
                    Agreement to undertake additional efforts and participate in the Auction, the Breakup Fee
           11
                    will not be paid and, thus, should not affect the value received by the Debtor for the Assets.
           12
                 21. The proposed Breakup Fee and Expense Reimbursement were the result of arm's length
           13
                    negotiations between representatives of the Debtor, myself and the Stalking Horse Bidder,
           14

           15       which is not an insider of the Debtor. Moreover, as noted above, the amount of the bid

           16       protections is reasonable and appropriate in light of the size and nature of the sale of the
           17       Assets and the efforts that have been and will be expended by Stalking Horse Bidder.
           18
                 22. In sum, the Debtor’s ability to offer the bid protections to the Stalking Horse Bidder
           19
                    enables the Debtor to ensure the sale of substantially all of the Assets at a price it believes
           20
                    to be fair, while, at the same time, preserving the value of its estate and promoting more
           21

           22       competitive bidding. The Debtor’s payment of the bid protections under the circumstances

           23       herein would be (a) an actual and necessary cost and expense of preserving the Debtor’s

           24       estate; (b) of substantial benefit to the Debtor’s estate; and (c) reasonable and appropriate in
           25       light of the efforts and the due diligence costs and expenses that have been and will be
           26
                    expended by the Stalking Horse Bidder. Thus, I request that the Court authorize payment
           27

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            1       of the Breakup Fee and Expense Reimbursement pursuant to the terms and conditions of
            2       the Letter Agreement, subject to execution of a definitive Asset Purchase Agreement.
            3
                 23. I submit that the foregoing Bidding Procedures and bid protections are fair and transparent and
            4
                    will derive the highest and best bids for the Assets. Therefore, I request that the Court approve
            5
                    the Bidding Procedures and the overbid protections, including the Breakup Fee and the
            6

            7       Expense reimbursement.

            8    24. To implement the foregoing immediately, the Debtor seeks a waiver of the 14-day stay of

            9       an order authorizing the use, sale, or lease of property under Bankruptcy Rule 6004(h), to the
           10
                    extent applicable. As set forth above, the relief requested herein is essential for the Debtor’s
           11
                    efforts to pursue the Sale.
           12
                 25. Based on these facts, I request an entry of the Bidding Procedures Order, granting the relief
           13
                    requested in the Motion and such other and further relief as is just and proper.
           14

           15

           16    I declare under penalty of perjury of the laws of the United States that these facts are true to the
           17    best of my knowledge and belief.
           18
                       Dated this 16th day of February, 2018
           19

           20                                                  /s/ Rameshwar Prasad
                                                                   Rameshwar Prasad
           21

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